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                   EXHIBIT B
Case 3:17-cv-00072-NKM-JCH Document 945-2 Filed 04/26/21 Page 2 of 2 Pageid#:
                                 16135


  From:          James Kolenich
  To:            Michael Bloch
  Subject:       Fwd: Last known contact information
  Date:          Friday, October 18, 2019 5:16:07 PM




 ---------- Forwarded message ---------
 From: James Kolenich <jek318@gmail.com>
 Date: Wed, Sep 25, 2019 at 7:38 PM
 Subject: Last known contact information
 To: KarenD@vawd.uscourts.gov <KarenD@vawd.uscourts.gov>


 Karen:

 Relative to the issue of the motion to withdraw from representing defendants Ray and
 Cantwell, their last known contact information is:

 Robert Ray
 phone:903-245-9134
 email: azzmador@gmail.com

 Christopher Cantwell
 phone:603-803-1213
 email: christopher.cantwell@gmail.com

 Respectfully,

 Jim Kolenich

 --
 James E. Kolenich
 Kolenich Law Office
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 Cincinnati, OH 45249
 513-444-2150
 513-297-6065(fax)
 513-324-0905 (cell)



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